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 4
                                     UNITED STATES DISTRICT COURT
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                               NORTHERN DISTRICT OF CALIFORNIA
 6
                                          OAKLAND DIVISION
 7
                                                      )
 8                                                    ) Case Numbers: 4:22-cv-06823-JST
                                                      )               4:22-cv-07074-JST
 9   J. DOE 1, et al.,                                )
                                                      ) [PROPOSED] ORDER RE: DISCOVERY
10                   Plaintiff(s),                    ) OF ELECTRONICALLY STORED
                                                      ) INFORMATION
11          vs.                                       )
                                                      )
12   GITHUB, INC., et al.,                            )
                                                      )
13                   Defendant(s).                    )
                                                      )
14
15   Upon the stipulation of the parties, the Court ORDERS as follows:
16          1. This Order supplements all other discovery rules and orders. It streamlines
17   Electronically Stored Information (“ESI”) production to promote a “just, speedy, and
18   inexpensive determination of this action, as required by Federal Rule of Civil Procedure 1.”
19          2. This Order may be modified in the Court’s discretion or by stipulation.
20          3. As in all cases, costs may be shifted for disproportionate ESI production requests
21   pursuant to Federal Rule of Civil Procedure 26. Likewise, a party’s nonresponsive or dilatory
22   discovery tactics are cost-shifting considerations.
23          4. A party’s meaningful compliance with this Order and efforts to promote efficiency and
24   reduce costs will be considered in cost-shifting determinations.
25          5. The parties are expected to comply with the District’s E-Discovery Guidelines
26   (“Guidelines”) and are encouraged to employ the District’s Model Stipulated Order Re: the
27   Discovery of Electronically Stored Information and Checklist for Rule 26(f) Meet and Confer
28   regarding Electronically Stored Information.

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 1          6. General ESI production requests under Federal Rules of Civil Procedure 34 and 45
 2   shall not include email or other forms of electronic correspondence or messaging service
 3   (collectively “email”). To obtain email, parties must propound specific email production
 4   requests.
 5          7. Email production requests shall only be propounded for specific issues, rather than
 6   general discovery of a product or business.
 7          8. Email production requests shall identify the custodian, search terms, and time frame.
 8   The parties shall cooperate to identify the proper custodians, proper search terms and proper
 9   timeframe as set forth in the Guidelines.
10          9. The parties will disclose at the outset any use of enterprise messaging tools, such as
11   Slack or MS Teams, including the type of subscription and retention settings in place. The
12   parties will meet and confer regarding issues relating to the parameters for collection of such
13   data, the format of the production, and other unique issues to this type of data.
14          10. Each requesting party shall limit its email production requests to a total of five
15   custodians per producing party for all such requests. OpenAI, Inc., OpenAI, L.P., OpenAI
16   OpCo, L.L.C., OpenAI GP, L.L.C., OpenAI Startup Fund GP I, L.L.C., OpenAI Startup Fund I,
17   L.P., and OpenAI Startup Fund Management, LLC shall be considered a single “producing
18   party.” The parties may jointly agree to modify this limit without the Court’s leave. The Court
19   shall consider contested requests for additional custodians, upon showing a distinct need based
20   on the size, complexity, and issues of this specific case. Cost-shifting may be considered as part
21   of any such request.
22          11. Each requesting party shall limit its email production requests to a total of five search
23   terms per custodian per producing party. All search terms per custodian per producing party shall
24   be identified in email production requests upon service. The parties may jointly agree to modify
25   this limit without the Court’s leave. The Court shall consider contested requests for additional
26   search terms per custodian, upon showing a distinct need based on the size, complexity, and
27   issues of this specific case. The Court encourages the parties to confer on a process to test the
28   efficacy of the search terms. The search terms shall be narrowly tailored to particular issues.

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 1   Indiscriminate terms, such as the producing company’s name or its product name, are
 2   inappropriate unless combined with narrowing search criteria that sufficiently reduce the risk of
 3   overproduction. A conjunctive combination of multiple words or phrases (e.g., “computer” and
 4   “system”) narrows the search and shall count as a single search term. A disjunctive combination
 5   of multiple words or phrases (e.g., “computer” or “system”) broadens the search, and thus each
 6   word or phrase shall count as a separate search term unless they are variants of the same word.
 7   Use of narrowing search criteria (e.g., “and,” “but not,” “w/x”) is encouraged to limit the
 8   production and shall be considered when determining whether to shift costs for disproportionate
 9   discovery. Should a party serve email production requests with search terms beyond the limits
10   agreed to by the parties or granted by the Court pursuant to this paragraph, this shall be
11   considered in determining whether any party shall bear all reasonable costs caused by such
12   additional discovery.
13          12. Nothing in this Order prevents the parties from agreeing to use technology assisted
14   review and other techniques insofar as their use improves the efficacy of discovery. Such topics
15   should be discussed pursuant to the District’s E-Discovery Guidelines.
16          13. Production Format for ESI.
17                  a. Except as otherwise provided in this Order, all documents existing in
18                      electronic format (e.g., Word, PDF, webpage files) shall be produced as 300
19                      DPI TIFF black and white images with a Bates number stamped on each
20                      page, document metadata (including extracted or OCR text), and a link to
21                      the associated extracted or OCR text file. The parties will consider re-
22                      producing select and specifically identified Word documents as a color PDF
23                      upon reasonable request by the receiving party.
24                  b. Source code and certain other highly confidential technical materials will be
25                      produced in native format and shall be made available for inspection on a
26                      secure computer in a secured room without Internet access or network
27                      access to other computers at a secure location determined by the producing
28                      party, pursuant to the terms of the Amended Protective Order (ECF

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 1                      No. 145) governing “HIGHLY CONFIDENTIAL – SOURCE CODE”
 2                      materials.
 3                  c. Spreadsheet-type files (e.g., Microsoft Excel) and PowerPoint presentations
 4                      should be produced in native format unless they require redaction.
 5                      Documents produced in native format should be named according to the
 6                      Bates number assigned, with the Confidentiality designation appended to the
 7                      Bates numbers with a hyphen. Single-page Bates-stamped TIFF image slip-
 8                      sheets will be included for each document produced in native format. The
 9                      slip-sheets will display the Bates number of the native file, the
10                      Confidentiality endorsement, and an endorsement stating, “File Produced
11                      Natively.”
12                  d. All attachments, addendums,enclosures, and/or exhibits to a parent
13                      document will be, to the extent reasonably possible, produced immediately
14                      following the parent document and identified as they relate to the respective
15                      parent document with the parent/child relationship intact.
16                  e. To the extent reasonably possible, ESI items shall be processed so as to
17                      preserve the date/time shown in the document as it was last saved, not the
18                      date of collection or processing.
19                  f. Telemetry data, training data, and other data inaccessible within the
20                      meaning of Federal Rule of Civil Procedure 26, shall not be produced to
21                      another party, either in native form or otherwise. The parties shall meet and
22                      confer in good faith regarding reasonable methodologies to query or sample
23                      such data sources. Given the large volume and nature of this data, searching
24                      the entirety or even portions of such data is impossible, complex, limited,
25                      and/or costly.
26          14. Metadata. Load or DAT files should include, where applicable and to the extent it
27   exists and was captured at the time of the collection, the information listed in Exhibit A
28   attached. To the extent that metadata does not exist or is not reasonably accessible or available

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 1   for any documents produced, nothing in this Order shall require any party to extract, capture,
 2   collect or produce such metadata.
 3          15. Privilege Logs. A party that withholds documents, ESI, and any other materials and
 4   information on the grounds of attorney-client privilege, attorney work product, and/or any other
 5   applicable privilege, immunity or protection from discovery, shall produce a privilege log.
 6   Privileged communications exclusively between a party and its outside or in-house counsel on or
 7   after November 3, 2022, and work product performed by a party at the direction of its outside or
 8   in-house counsel on or after November 3, 2022 need not be included on a privilege log.
 9   Privilege logs shall be served no later than 60 days before the close of fact discovery. The
10   privilege log shall include:
11                  a. A unique number for each entry on the log.
12                  b. Date of document for all ESI and to the extent known or discernible for all
13                      hard copy documents. For emails this should be the sent date of the
14                      document and for loose ESI this should be the last-modified or create date
15                      of the document.
16                  c. Custodian of the document. For emails this should be populated with the
17                      metadata extracted from the Custodian(s) field. For loose ESI, this should
18                      be populated with the Custodian value assigned to the instance of the
19                      document in question.
20                  d. Author of the document. For emails this should be populated with the
21                      metadata extracted from the “Email From” field associated with the file.
22                      For loose ESI, this should be populated with the metadata extracted from the
23                      “Author” field. For hard copy documents, this will be populated with the
24                      “Custodian.”
25                  e. Recipient(s) of the document where reasonably ascertainable. For emails
26                      this will be populated with the metadata extracted from the “Email To” field
27                      associated with the file. Separate columns will be included for the metadata
28                      extracted from the “Email CC” and “Email BCC” fields, where populated.

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 1                  f. The type of privilege being asserted, for example: (a) AC for
 2                      Attorney/Client, (b) WP for Attorney Work Product, (c) CI for Common
 3                      Interest.
 4                  g. Nothing in Paragraph 15 of this Order shall be read to preclude the parties
 5                      from logging documents categorically where appropriate.
 6          16. Any Party that issues a non-party subpoena shall timely notify other Parties when it
 7   receives non-party productions of documents, ESI or other responses from the non-party, and
 8   shall provide copies of all such productions in the format in which they were received from the
 9   non-party to the other Parties. If the non-party produces documents or ESI that are not Bates
10   labeled, the Receiving Party will Bates-label the documents or ESI before producing a copy to
11   the other Parties if the produced documents or ESI are of the type so requiring consistent with
12   other provisions of this Order. Nothing in this Protocol precludes a Receiving Party from
13   reviewing a non-party production of documents or ESI and applying (if the non-party produced
14   documents without a confidentiality designation) or elevating a confidentiality designation (e.g.,
15   elevating documents designated as CONFIDENTIAL to ATTORNEYS’ EYES ONLY) if the
16   production contains confidential or extremely sensitive information as defined by the Amended
17   Protective Order (ECF No. 145).
18
19
            IT IS ORDERED that the forgoing is approved.
20
21    Dated: November 1, 2023
                                                         Honorable Jon S. Tigar
22                                                      United States District Judge
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 1                                           EXHIBIT A
 2                                                         Native Files &
           Field       Data Type         Paper                                      Email
 3                                                      Email Attachments
     BegDoc           Integer -      Starting Bates     Starting Bates #      Starting Bates #
 4                    Text           #
     EndDoc           Integer -      Ending Bates #     Ending Bates #        Ending Bates #
 5                    Text
 6   BegAttach        Integer -      Starting bates #   Starting bates # of   Starting bates # of
                      Text           of document        document family       document family
 7                                   family
     EndAttach        Integer -      Ending bates #     Ending bates # of     Ending bates # of
 8                    Text           of document        document family       document family
 9                                   family
     Custodians       Text –                            All names of people   All names of
10                    paragraph                         the document was      people the
                      Separate                          collected from even   document was
11                    entries with                      if removed from       collected from
                      “;”                               production as a       even if removed
12
                                                        duplicate             from production as
13                                                                            a duplicate
     From             Text -                                                  Sender of message
14                    paragraph
     To               Text –                                                  Recipients of
15
                      paragraph                                               message
16                    Separate
                      entries with
17                    “;”
     CC               Text –                                                  Copied recipients
18                    paragraph
19                    Separate
                      entries with
20                    “;”
     BCC              Text –                                                  Blind copied
21                    paragraph                                               recipients
22                    Separate
                      entries with
23                    “;”
     Subject          Text -                                                  Subject of message
24                    paragraph
25   DateSent         Date                                                    Date message sent
                      (mm/dd/yy
26                    yy)
     DateReceived     Date                                                    Date message
27                    (mm/dd/yy                                               received
28                    yy)
     FileName         Text -                            Name of original      Name of original
                                                    7
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 1                                                         Native Files &
          Field        Data Type       Paper                                        Email
                                                        Email Attachments
 2                     paragraph                       file including        file including
 3                                                     extension             extension
     FileExtension     Text                            Extension of          Extension of
 4                                                     original file         original file
     DateCreated       Date/Time                       Date file was
 5                     (mm/dd/yy                       created
 6                     yy)
     DateModified      Date/Time                       Date file was last
 7                     (mm/dd/yy                       modified
                       yy)
 8   Author            Text -                          Document author
 9                     paragraph                       from metadata
     Confidentiality   Single      Designation         Designation branded Designation
10                     choice      branded onto        onto the document     branded onto the
                                   the document                              document
11   FullText          Link        Link to the         Link to the extracted Link to the
12                                 extracted or        or OCR text file      extracted or OCR
                                   OCR text file                             text file
13   DocLink           Link        Link to the         Link to the native    Link to the native
                                   native file         file                  file
14   MD5Hash           Text                            The MD5Hash           The MD5Hash
                                                       value of the file     value of the file
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